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 6
      Attorneys for Plaintiff
 7    ALVARO OROSCO
 8
                                 UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
11    ALVARO OROSCO,                                    Case No.: 2:23-cv-10401-SPG (BFMx)
12
                   Plaintiff,                           NOTICE OF VOLUNTARY
13                                                      DISMISSAL OF ENTIRE ACTION
            vs.                                         WITHOUT PREJUDICE
14
15    TIFRON, INC. D/B/A SPUDNUTS
      DOUGHNUTS; and DOES 1 to 10,
16
                   Defendants.
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18
19          PLEASE TAKE NOTICE that ALVARO OROSCO (“Plaintiff”) pursuant to
20    Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21    action without prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22    provides in relevant part:
23          (a) Voluntary Dismissal.
24
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                          and any applicable federal statute, the plaintiff may dismiss an action
26
                          without a court order by filing:
27
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         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
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 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: March 11, 2024                        SO. CAL. EQUAL ACCESS GROUP
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 9
10                                          By:       /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
